Case 6:17-cv-02206-CEM-GJK Document 86-24 Filed 06/28/18 Page 1 of 1 PagelD 1625

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From! Dave Hawley (mnailodhawley@absolute-med.cony)
Sent: Tuesday, December 12, 2017 Gi0k AM

To: Elzaboth Lukimeoy

Subject: Instruments

Liz,

Need to get started on a few instruments (a be mindy for Sawin,

Arsenal:

“Need a multidirestlonal countar+lorque - or Just the apposite diveetion Tt Is currently, 82 Longer

Straluht thoraele geushil) probe x3 -Navigadon Instiments Drill gulde/Dell Cor
thoniwolumbur eases. Depth guide (rom 30-40min, Dytll bi diameter 3,5,

Solanas

sNovigatton tnatruments:

Made shivilar to the Avsenu) NI Instruments,

—Drlll gulde/Dvill, Depth gulde from 10-4000 Drill diameter 2.5mm —Theended sevew driver

ny going to send you a cauple things today, What address would you ke then shipped to?

Sent from my Phang

| EXHIBIT
i Cc

 

 

 
